   Case
MIED          2:15-cv-12604-MFL-DRG
     (Rev. 8/07) Notice of Correction             ECF No. 96, PageID.3963 Filed 07/23/18 Page 1 of 1


                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF MICHIGAN

FAISAL G. KHALAF, Ph.D.,


                   Plaintiff(s),                                           Case No. 15-cv-12604

v.                                                                         Judge Marianne O. Battani

FORD MOTOR COMPANY, BENNIE FOWLER                                          Magistrate Judge
and JAY ZHOU,

                   Defendant(s).
                                                          /

                                                  NOTICE OF CORRECTION

         Docket entry number       96   , filed     July 23, 2018          , has been modified. The explanation for the correction

is stated below.

               The docket entry was made on the wrong case.
               The corresponding document image was missing or incomplete.
          ✔    The wrong document image was associated.
               The wrong judicial officer was listed on the case docket.
               The filer information was inaccurate or omitted from the docket text.
               The judicial officer information was inaccurate or omitted from the docket text.
               The docket text was changed to include the Partial Payment Order.
               Other:



         If you need further clarification or assistance, please contact           Kay Doaks             at (313) 234-2627 .



                                                                    DAVID J. WEAVER, CLERK OF COURT


Dated: August 10, 2018                                              s/Kay Doaks
                                                                    Deputy Clerk
